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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

IN RE APPLICATION OF
TATIANA AKHMEDOVA,

       Applicant,                                           8:20-MC-00065-TPB-SPF

REQUEST FOR DISCOVERY PURSUANT
TO 28 U.S.C. § 1782
____________________________________/


              MOTION TO APPEAR PRO HAC VICE FOR JAMES H. POWER

       James H. Power (“Movant”) of the law firm of Holland & Knight LLP, pursuant to Local

Rule 2.02, hereby moves this Court for special admission pro hac vice to appear in this

proceeding as counsel for Plaintiff, Tatiana Akhmedova. In support of this Motion, Movant states

as follows:

       1.      Movant is a member in the New York office of Holland & Knight LLP, whose

address is 31 West 52nd Street, New York, New York 10019.

       2.      Movant is licensed to practice law in the State of New York and is a member in

good standing of the New York Bar.

       3.      Movant is admitted to practice before the U.S. District Courts for the Southern

District of New York, Eastern District of New York, and Northern District of New York. A copy

of a Certificate of Good Standing for Movant issued from the United States District Court of the

Eastern District of New York is attached as “Exhibit A.”

       4.      Movant is admitted to practice before the U.S. Court of Appeals for the Second

Circuit, U.S. Court of Appeals for the Third Circuit, U.S. Court of Appeals for the Fourth Circuit,

U.S. Court of Appeals for the Fifth Circuit.
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       5.      Movant certifies that he has never been disbarred and is not currently suspended

from the practice of law in the State of New York, or any other state nor from any Court of

Appeals.

       6.      Movant is not a resident of Florida.

       7.      Movant is not a member of the Florida Bar.

       8.      Movant has not appeared in separate cases to such a degree as to constitute the

maintenance of a regular practice of law in Florida.

       9.      Movant certifies that he will comply with the fee and e-mail registration

requirements of the Middle District of Florida Local Rule 2.01(d).

       10.     Movant further submits the United States District Court, Middle District of

Florida, Special Admission Attorney Certification, as “Exhibit B.”

       11.     Movant designates Jason Baruch, Esq., of Holland & Knight LLP, 100 North

Tampa Street, Suite 4100, Tampa, FL 33602, who is a member of the bar of the Middle District of

Florida, a resident in Florida, and who consents to designation as local counsel and to accept

notices and papers that may be served and will be responsible for the progress of the case,

including trial in default of the non-resident attorney.

       12.     Movant certifies further that he is familiar with and shall be governed by the

Local Rules of this Court, the Rules of Professional Conduct, and all other requirements

governing the professional behavior of members of the Florida Bar.

       WHEREFORE, Movant respectfully requests entry of the attached proposed order

authorizing his special admission to practice in this case

       Dated: August 12, 2020

                                                       /s/ James H. Power
                                                       James H. Power

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                                                         E-Mail: james.power@hklaw.com
                                                         Holland & Knight LLP
                                                         31 West 52nd Street
                                                         New York, NY 10019
                                                         Telephone: (212)513-3494 |
                                                         Facsimile: (212) 341-7240

                                                         Attorneys for Plaintiff Tatiana Akhmedova

                          CONSENT TO ACT AS LOCAL COUNSEL

       I, Jason Baruch, an attorney qualified to practice in this court, consent to designation as local

attorney for James H. Power, Esq., with respect to the representation of PowerPile Products Oy, and

agree to serve as designee with whom the Court and opposing counsel may readily communicate

regarding the conduct of this case, and upon whom papers shall be served in accordance with Local

Rule 2.02.
                                                         /s/ Jason Baruch
                                                         Jason Baruch
                                                         Florida Bar No. 10280
                                                         E-Mail: jason.baruch@hklaw.com
                                                         Holland & Knight LLP
                                                         100 N. Tampa Street, Suite 4100
                                                         Tampa, FL 33602
                                                         Telephone: (813) 227-6607
                                                         Facsimile: (813) 229-0134

                                                         Attorneys for Plaintiff Tatiana Akhmedova

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 12, 2020, a true and correct copy of the foregoing

was electronically filed with the Clerk of the Court by using the CM/ECF system, which will

send electronic notification to all counsel of record.



                                                         /s/ Jason Baruch
                                                         Attorney



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